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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
  ---------------------------------------------------------------------X
  JUAN CARLOS INTERIANO, Individually, and
  JUAN CARLOS INTERIANO, as assignee of ALL-                               Case No. 23-cv-238-PKC-AYS
  BORO REHAB CONSTRUCTION CORP., ALL
  BORO GROUP, LLC and ALL-BORO
  CONSTRUCTION GROUP, INC.,

                                                Plaintiffs,

                    - against -

  ARCH SPECIALTY INSURANCE COMPANY,

                                                 Defendants.
  ---------------------------------------------------------------------X




             MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S MOTION
                TO DISQUALIFY DEFENDANT’S CURRENT COUNSEL




                                                       NICHOLAS GOODMAN & ASSOCIATES, PLLC
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                                        PRELIMINARY STATEMENT

            Plaintiff JUAN CARLOS INTERIANO Individually and as assignee of ALL-BORO

 REHAB CONSTRUCTION CORP., ALL BORO GROUP, LLC and ALL-BORO

 CONSTRUCTION GROUP, INC. (“Plaintiff”), through its attorneys Nicholas Goodman &

 Associates, PLLC, respectfully submits this Memorandum of Law in support of its request for an

 Order disqualifying the law firm DAC Beachcroft LLP (“Beachcroft”) from continuing to

 represent Defendant ARCH SPECIALTY INSURANCE COMPANY (“Defendant” or “Arch”)

 due to a conflict of interest.

            On January 1, 2025, during the pendency of this coverage dispute, arising from Defendant’s

 denial of coverage to Plaintiff’s assignors, former counsel for the Plaintiff, George Vogrin, Esq.

 (“Vogrin”), Michael Frimet, Esq. (“Frimet”) and Jamie Denenberg, Esq. (“Denenberg”) formerly

 of the law firm Vogrin & Frimet, LLP (“V&F”), and their support staff, and counsel for the

 Defendant, Lawrence Klein, Esq. (“Klein”), Aaron F. Mandel, Esq. (“Mandel”), and Eric Lankton,

 Esq. (“Lankton”), and their support staff, formerly of the firm Robinson & Cole LLP (“R&C”),

 all joined the same law firm, Beachcroft.

            Recognizing the conflict of interest inherent in attorneys in the same firm, working from

 the same physical office location, representing both sides in a legal dispute, V&F duly withdrew

 from its representation of Plaintiff. [Doc. No. 48]. 1 However, despite Plaintiff’s counsel’s requests,

 Beachcroft has refused to withdraw from representing Arch.

            As set forth below, Plaintiff now requests that this Court compel Beachcroft to

 acknowledge the conflict of interest inherent in its continue representation of Arch and issue an

 Order directing Beachcroft to withdraw as counsel in this action.



 1
     All references to “Doc. No.” refer to the Document Number on the ECF Docket herein.


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                          FACTUAL AND PROCEDURAL HISTORY

        A complete recitation of the applicable factual and procedural history herein is set forth in

 the Affirmation of H. Nicholas Goodman dated April 30, 2025 (the “Goodman Aff.”), submitted

 herewith. The following is a brief recitation of the most salient portions thereof.

        On or about November 30, 2022, Plaintiff commenced this action by e-filing his Summons

 and Complaint in the Supreme Court, State of New York, County of Nassau. [Doc. No. 1-1]. Vogrin

 signed Plaintiff’s Summons and Complaint on behalf of V&F. [Doc. No. 1-1].

        On or about January 13, 2023, Arch, by R&C, removed the action to this Court by filing a

 Notice of Removal.[Doc. No. 1].

        On or about December 19, 2024, after over two years of litigation, V&F moved to be

 relieved as counsel, citing the conflict arising from V&F’s anticipated absorption into a new firm.

 [Doc. No. 48]. While not named in V&F’s moving papers, the firm into which V&F merged was

 Beachcroft. At that time, Plaintiff retained the undersigned to represent him in this action.

        Effective January 1, 2025, the entire V&F firm, including support staff, joined Beachcroft.

 Goodman Aff., ¶ 7.

        On January 8, 2025, Klein and Mandel filed a Notice of Change of Firm, Address, and

 Contact Information, disclosing that they too had moved, along with Lankton, had moved

 Beachcroft effective January 1, 2025. [Doc. No. 49].

        From January 1, 2025, on, the former V&F attorneys and staff as well as the former R&C

 attorneys and staff, have all worked out of the same suite at Beachcroft’s only Manhattan office

 located at 55 Broadway, Suite 1602. [See Doc. Nos. 48 and 49]. Only fifteen (15) Beachcroft

 attorneys, including Vogrin, Frimet, Denenberg, Klein, Mandel and Lankton, work out of that

 office. Goodman Aff., ¶ 10. Upon information and belief they work in close proximity with each

 other in an open office plan and share administrative resources and support staff. Id.


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        On or about January 15, 2025, after consultation with Plaintiff, the undersigned wrote to

 Beachcroft, by letter addressed to Klein and Mandel, informing Beachcroft of the conflict of

 interest that is the subject of this motion and requesting that Beachcroft immediately seek leave to

 withdraw as counsel for Arch in light of same. Exhibit “A.”

        By letter dated January 22, 2025, Beachcroft via Mandel refused to withdraw as counsel

 for Arch. Exhibit “B.” After several telephonic conferences, Beachcroft via Mandel persisted in its

 refusal to withdraw, thus necessitating the instant motion.

                                            ARGUMENT

   I.   BEACHCROFT CANNOT CONTINUE TO REPRESENT ARCH IN THIS
        MATTER DUE TO THE IMPUTED CONFLICT OF INTEREST

        A. Legal Standards

        While “[t]he authority of federal courts to disqualify attorneys derives from their inherent

 power to preserve the integrity of the adversary process,” state and ABA disciplinary rules provide

 useful guidance in deciding whether to wield that power. See, Hempstead Video, Inc. v.

 Incorporated Village of Valley Stream, 409 F.3d 127, 132 (2d Cir. 2005). In wielding that power,

 “a district court must balance ‘a client’s right to freely choose his counsel’ against ‘the need to

 maintain the highest standards of the profession.’” GSI Commerce Solutions, Inc. v. BabyCenter,

 L.L.C., 618 F.3d 204, 209 (2d Cir. 2010), quoting Hempstead, 409 F.3d at 132.

        Rule 1.9 of the ABA Model Rules of Professional Conduct (“ABA Model Rules”), Duties

 to Former Clients, provides, in pertinent part, as follows:

        (a) A lawyer who has formerly represented a client in a matter shall not thereafter
            represent another person in the same or a substantially related matter in which
            that person’s interests are materially adverse to the interests of the former client
            unless the former client gives informed consent, confirmed in writing.

 Rule 1.9 of the New York Rules of Professional Conduct (“NYRPC”), tracks the ABA Model Rule

 nearly word for word, and the language of section 1.9(a) is identical.


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        ABA Model Rule 1.10: Imputation of Conflicts of Interest, provides, in relevant part, as

 follows:

        (a) While lawyers are associated in a firm, none of them shall knowingly represent
        a client when any one of them practicing alone would be prohibited from doing so
        by Rules 1.7 or 1.9, unless

        (1) the prohibition is based on a personal interest of the disqualified lawyer and
        does not present a significant risk of materially limiting the representation of the
        client by the remaining lawyers in the firm; or

        (2) the prohibition is based upon Rule 1.9(a) or (b) and arises out of the disqualified
        lawyer’s association with a prior firm, and

        (i) the disqualified lawyer is timely screened from any participation in the matter
        and is apportioned no part of the fee therefrom;

        (ii) written notice is promptly given to any affected former client to enable the
        former client to ascertain compliance with the provisions of this Rule, which shall
        include a description of the screening procedures employed; a statement of the
        firm's and of the screened lawyer's compliance with these Rules; a statement that
        review may be available before a tribunal; and an agreement by the firm to respond
        promptly to any written inquiries or objections by the former client about the
        screening procedures; and

        (iii) certifications of compliance with these Rules and with the screening procedures
        are provided to the former client by the screened lawyer and by a partner of the
        firm, at reasonable intervals upon the former client's written request and upon
        termination of the screening procedures.

        Meanwhile, NYRPC Rule 1.10, Imputation of Conflicts of Interest, takes a more protective

 approach to attorney-client privilege, and provides in relevant part as follows:

        (a) While lawyers are associated in a firm, none of them shall knowingly represent
        a client when any one of them practicing alone would be prohibited from doing so
        by Rule 1.7, 1.8 or 1.9, except as otherwise provided therein.

        ***

        (c) When a lawyer becomes associated with a firm, the firm may not knowingly
        represent a client in a matter that is the same as or substantially related to a matter
        in which the newly associated lawyer, or a firm with which that lawyer was
        associated, formerly represented a client whose interests are materially adverse to
        the prospective or current client unless the newly associated lawyer did not acquire
        any information protected by Rule 1.6 or Rule 1.9(c) that is material to the current
        matter.


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         (d) A disqualification prescribed by this Rule may be waived by the affected client
         or former client under the conditions stated in Rule 1.7.

         NYRPC Rule 1.7(b) provides that an attorney that would otherwise be barred from

 representation due to a conflict of interest may nonetheless represent a client if:

         (1) the lawyer reasonably believes that the lawyer will be able to provide competent
             and diligent representation to each affected client;

         (2) the representation is not prohibited by law;

         (3) the representation does not involve the assertion of a claim by one client against
             another client represented by the lawyer in the same litigation or other
             proceeding before a tribunal; and

         (4) each affected client gives informed consent, confirmed in writing.

        Thus, a firm subject to an imputed conflict of interest pursuant to NYRPC Rule 1.10 may

 not undertake or continue representation of a client in the same matter in which a newly associated

 lawyer represented a former client whose interests are material averse to the firm’s new or

 prospective client unless the affected client gives informed consent, confirmed in writing.

        B. Beachcroft’s Continued Representation of Arch Violates New York State’s Rules of
           Professional Conduct

        As set forth above, the NYRCP prohibits an attorney, or the law firm with which an attorney

 is associated, from representing a client in the same matter in which the attorney or firm

 represented a former client whose interests are materially adverse to the new client unless, among

 other things, the former client gives informed, written consent. Under this framework, there can

 be no question that Beachcroft should be disqualified from continuing its representation of Arch

 in this matter.

        Attorneys Vogrin and Frimet, now Beachcroft partners, and Denenberg, now a Beachcroft

 associate, (Goodman Aff., ¶¶ 7-8), formerly represented the Plaintiff in this matter for some two

 years. Goodman Aff. ¶ 9. Obviously Arch, the lone Defendant herein, has interests materially




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 adverse to Plaintiff. Just as clearly, NYRPC Rule 1.9 prohibits the former V&F attorneys, now

 Beachcroft attorneys, from representing Arch in this matter. And critically, NYRPC Rule 1.10

 imputes that conflict to Beachcroft. As stated in NYRPC Rule 1.10(d), the only way to overcome

 this prohibition is through compliance with the conditions stated in NYRPC Rule 1.7, that require,

 among other things, informed, written consent from the affected party.

       Plaintiff herein does not consent to Beachcroft’s continued representation. Goodman Aff., ¶

 14. Thus, under the NYRPC, neither the former V&F attorneys nor any other current Beachcroft

 attorney, particularly those practicing the same Manhattan office suite as the former V&F

 attorneys, may represent Arch in this matter. No further inquiry is necessary under the New York

 Rule that mandates Beachcroft’s withdrawal.

       C. Beachcroft’s Continued Representation of Arch Violates the ABA Model Rules of
          Professional Conduct

       The ABA Model Rule takes a slightly more lenient approach to imputed conflict, and

 provides exceptions to imputed conflict when a law firm is able to take careful steps to screen the

 potentially disqualified lawyer(s) and provide timely, detailed notice to the affected party. But even

 accepting, for the sake of this motion only, the truth of the representations set forth in Beachcroft’s

 January 22, 2025, letter, (Exhibit “B”), Beachcroft has not met and cannot meet this standard.

                                              Fee Sharing

       ABA Model Rule 1.10(a)(2)(i), requires that the disqualified attorneys, here Vogrin, Frimet,

 and Denenberg are “timely screened from any participation in the matter and [are] apportioned no

 part of the fee therefrom.” While Mandel represented that Beachcroft has made efforts made to

 ensure that V&F’s physical and digital documents and records regarding this action are not

 accessible to the attorneys previously associated with R&C, he made no representation that

 Beachcroft took or will take any measures to ensure that any of the former V&F attorneys have



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 not already received any portion of the legal fees earned by Beachcroft through its representation

 of Arch in this matter and will not receive any portion of those fees were this Court to allow

 Beachcroft to continue to represent Arch. Exhibit “B.” Plaintiff is not aware of Beachcroft’s profit

 sharing policies, but there is a very real possibility that the former V&F attorneys, in particular

 Vogrin and Frimet, who are now Beachcroft Partners together with Klein, stand to benefit directly

 from Beachcroft’s representation of Arch in this case and other Beachcroft work for Arch, resulting

 in divided loyalty.

                                       Sufficiency of Screening

       But setting aside the very real risk that the former V&F attorneys will benefit from legal

 fees Beachcroft earns from Arch, Beachcroft has not demonstrated the timeliness nor the

 sufficiency of its screening process. While segregation of digital and physical records is of course

 a necessary aspect of effective screening, Beachcroft has not conveyed what, if any, efforts it has

 made to prevent the inadvertent disclosure of confidential information, for example through intra-

 office conversations or eavesdropping in the limited space now occupied by all six of the attorneys

 and their staff who worked on this case for two years before their arrival at Beachcroft.

       Moreover, Beachcroft’s vague assertion that “an ethical wall is established prohibiting all

 attorneys and staff formerly associated with [V&F and R&C] to speak about any aspect of this

 Lawsuit,” (Exhibit “B,” p. 2), is patently insufficient as it fails to address many critical questions.

       To wit, when was the “ethical wall” established? Specifically, was it erected before or after

 the January 1, 2025, merger? How did Beachcroft identify and communicate the need for the

 “ethical wall” to the attorneys and staff in question? Did Beachcroft take any measure to

 incentivize the attorneys and support staff to take special care to avoid inadvertent disclosure in

 light of their close proximity, or were they simply instructed to refrain from conversing with one

 another directly regarding the details of this litigation?


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       Further, does Beachcroft provide facilities to enable the former V&F attorneys to engage in

 private communications with their former client and his new counsel regarding his former

 representation as may be needed to facilitate the effective transfer of representation? Or were such

 conversations were simply left to occur in an open floor plan within earshot of Arch’s counsel?

 These unanswered questions and more demonstrate Beachcroft’s failure to meet its burden under

 the ABA Model Rules.

                                           Lack of Notice

       Even if Beachcroft were to demonstrate that it enacted timely and effective screening

 methods to this Court’s satisfaction – and there is no evidence that it did – Beachcroft failed to

 comply with its obligation to provide notice of those methods to Plaintiff in a timely manner or at

 all. ABA Model Rule 1.10(a)(2)(ii) requires that a firm seeking to avoid an imputed conflict to

 provide prompt written notice to any affected former client “to enable the former client to ascertain

 compliance with the provisions of this Rule…” Such a notice must include a description of the

 screening procedures employed, a statement that the firm and screened lawyer have complied with

 the rules, a statement that review of the screening procedures and the firm’s compliance may be

 available before a tribunal, and an agreement by the firm to respond promptly to any written

 inquiries or objections. Id.

       Comment [9] to ABA Model Rule 1.10 clarifies that the required screening notice should

 be given “as soon as practicable after the need for screening becomes apparent.” That certainly did

 not occur in this case. Given the rather unusual circumstances giving rise to the conflict here, in

 which counsel representing adverse parties in the same action simultaneously joined the same firm,

 the need for screening would have been apparent to the incoming Beachcroft attorneys long before

 the merger’s effective date.




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       Indeed, that V&F moved for leave to withdraw from his representation of Plaintiff on

 December 19, 2024, in anticipation of the conflict that would arise upon his joining Beachcroft

 only underscores the need for Beachcroft to have implemented screening pre-merger and most

 certainly immediately post-merger. Yet Beachcroft did not provide Plaintiff with any notice, nor

 apparently did it undertake any screening precautions at all until after Plaintiff independently

 identified the conflict and demanded that Beachcroft withdraw.

        What’s more, even when Beachcroft did reply to Plaintiff’s withdrawal request, over three

 weeks after the merger occurred, that response failed to include the mandatory criteria outlined

 above. As discussed above, Beachcroft’s description of the screening procedures employed does

 not inform Plaintiff of the availability of a review of those procedures before a tribunal, and it

 contains no agreement by the firm to response to Plaintiff’s written inquiries or objections

 regarding same.

       Thus, Beachcroft’s continued representation of Arch in this matter is prohibited by the ABA

 Model Rules as well.

       D. Beachcroft’s Continued Representation of Arch Undermines the Integrity of the
          Adversarial Process

       Again, the New York State and ABA Model Rules, while not binding, provide valuable

 guidance, and this Court should not ignore the reality that Beachcroft would be barred from

 representing Arch in this matter under those Rules. But beyond a rigid application of those Rules,

 Beachcroft’s continued representation of Arch in this matter would taint the adversarial trial

 process and result in a benefit Arch at Plaintiff’s detriment.

       When considering matters of successive representation, the Second Circuit holds that an

 attorney may be disqualified if the following three factors are met:

        (1) the moving party is a former client of the adverse party's counsel;



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          (2) there is a substantial relationship between the subject matter of the counsel's
          prior representation of the moving party and the issues in the present lawsuit; and

          (3) the attorney whose disqualification is sought had access to, or was likely to have
          had access to, relevant privileged information in the course of his prior
          representation of the client.

 Hempstead Video, Inc., 409 F.3d at 133. Each of these factors obviously applies to the former V&F

 attorneys herein. It is undisputed that Plaintiff was formerly, and very recently, V&F’s client. The

 relationship between V&F’s representation and the issues in the present lawsuit could not be more

 substantial as it is the very same lawsuit.

          Finally, there is no question that V&F had access to privileged information in the course of

 his representation of Plaintiff that would be relevant to this action. Indeed, since it is the same

 action, any privileged information V&F attorneys obtained in their representation would by

 definition be relevant to this case as it continues.2 Thus, the former V&F attorneys would certainly

 be subject to disqualification, a fact properly recognized and underscored by Vogrin who withdrew

 his firm from Plaintiff’s representation before V&F’s merger into Beachcroft.

          The question then turns to Beachcroft, and whether the presumption of confidence sharing

 within a firm can be rebutted so as to cleanse the taint of the V&F attorneys’ status as partners and

 associate at a firm representing the adverse party in the very action in which V&F represented the

 Plaintiff until mere days before that firm merged into Beachcroft. While the presumption of shared

 confidences between members of a firm may be rebutted “in appropriate cases and on convincing

 facts,” (Hempstead Video, Inc., 409 F.3d at 138), this is not such a case; Beachcroft’s

 representations are simply not convincing. Unlike Hempstead, where the holding relied heavily on


 2
   While Beachcroft has suggested that any confidences Plaintiff may have shared with Vogrin are irrelevant because
 the resolution of this matter will turn exclusively on the application of New York law to actions taken by Arch, (Exhibit
 “B,” p. 2), that argument fails to acknowledge that confidential information regarding litigation strategy, appetite (or
 lack thereof) for protracted litigation or intrusive discovery, or Plaintiff’s current financial and medical conditions,
 might impact Plaintiff’s settlement posture throughout the litigation, potentially giving Arch an unfair advantage in
 determining its settlement posture (or whether to make a settlement offer at all).


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 the fact that the conflicted attorney had only an attenuated “of counsel” relationship with the firm

 whose disqualification was sought, (Id. at 133-136), the relationship of the former V&F attorneys

 and staff to Beachcroft is quite obviously much more intimate.

         Beachcroft maintains only one office in New York, located at 55 Broadway, Suite 1602, in

 Manhattan. Goodman Aff., ¶ 9. Only approximately fifteen attorneys work out of that office,

 including partners Vogrin and Frimet, and associate Denenberg who actively worked on this case

 for two years, along with partner Klein and Counsel Mandel and Lankton, who were adverse to

 Vogrin, Frimet and Denenberg in the very same case. Goodman Aff., ¶ 10. The close physical

 proximity of those six attorneys, all of whom share an office suite, as well as their staff, raises a

 strong presumption that confidences and separation cannot be adequately maintained there. See

 Filippi v. Elmont Union Free School Dist. Bd. of Educ., 722 F.Supp. 2d 295 (E.D.N.Y. 2010).

         For all the undersigned knows, Vogrin might sit directly adjacent to one or more of

 attorneys representing his former adversary in this matter in which Vogrin represented Plaintiff

 until mid-December last year. The possibility that confidences have already been or could

 inadvertently be disclosed, such as during a telephone conversation between any of the former

 V&F attorneys and Plaintiff’s current counsel within earshot of Klein, Mandel, or other Beachcroft

 staff assigned to this matter, is very real, and of great concern to Plaintiff.

         Further, this Court is bound to consider the injustice that the denial of this motion would

 work upon Plaintiff, an individual who suffered severe personal injury and is now embroiled in a

 complex and time-consuming coverage dispute in the hope of recovering at least some of the $1.5

 million the court below awarded him. Due to V&F’s ethically sound withdrawal, the conflict here

 at issue has already deprived Plaintiff of his chosen counsel. To permit Arch, a multinational

 corporation with the business acumen and financial wherewithal to easily and efficiently obtain




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 replacement counsel, to retain its chosen counsel in this case in which the very same conflict

 deprived Plaintiff of his chosen counsel, would constitute a grave injustice. That would tend to

 underscore the public perception that the American judicial system allows preferential treatment

 for litigants with money and power.

         In effect, permitting Beachcroft’s continued representation of Arch in this matter would

 unfairly deprive Plaintiff of his choice of counsel for no reason other than that his attorney had the

 ethical fortitude to withdraw voluntarily while the insurance carrier’s counsel did not.

         To be clear, Plaintiff is not suggesting that Beachcroft be prohibited from representing Arch

 in other matters. Indeed, Beachcroft does represent Arch in matters not involving Plaintiff and the

 dispute at issue herein,3 and the fact that V&F previously represented the Plaintiff in a materially

 adverse position to Arch does not prevent Beachcroft’s representation or Arch now or in the future.

         But this Court should consider a hypothetical scenario in which Arch sought to retain

 Beachcroft to represent it in this matter for the first time in January or February of this year, with

 the former V&F attorneys, now partners and associates in its New York office, having previously

 represented the Plaintiff in the same matter. While Plaintiff is not privy to Beachcroft’s conflict

 screening policies for new clients, one must assume that, but for the unusual circumstance of V&F

 merging into Beachcroft simultaneously with Klein and Mandel and Lankton, Beachcroft would

 not agree to represent Arch in this specific matter given the clear conflict of interest.

         Ultimately, the former V&F attorneys’ conflict herein is imputed to Beachcroft, and the

 facts and circumstances of their relationship with Beachcroft make the threat that confidences

 cannot be adequately maintained functionally insurmountable. Accordingly, Beachcroft must be

 disqualified from continuing to represent Arch in this matter.


 3
  See, e.g., U.S. Specialty Insurance Company v. Arch Specialty Insurance Company, E.D.N.Y. Case No. 1:23-cv-
 7368.


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                                          CONCLUSION

        For all the reasons set forth above, and in the Affirmation of H. Nicholas Goodman

 submitted herewith, Plaintiff respectfully requests that this Court issue an Order disqualifying

 DAC Beachcroft LLP from continuing to represent Defendant Arch Specialty Insurance Company

 in this matter and staying proceedings herein for thirty (30) days to permit Defendant to retain new

 counsel, together with such other and further relief as to this Court seems just and proper.

 Dated: New York, New York
        April 30, 2025
                                          NICHOLAS GOODMAN & ASSOCIATES, PLLC


                                        BY: ________________________________________
                                             H. Nicholas Goodman
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